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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )
V.                                                   )     CR. NO. 02-00198-2-CG
                                                     )
CHRISTOPHER BROOKS ELLIOTT                           )
                                                     )
     Defendant.                                      )

                                                 ORDER

        This matter came on for a revocation hearing on June 7, 2005. Upon consideration of the evidence

presented and the arguments of counsel, the defendant shall be allowed to remain on supervised release

under the same conditions previously imposed on March 11, 2003, and the hearing of this matter is

continued. Probation shall file a statement of the status of the defendant’s compliance every six months

from the date of this order until termination of his supervised release term.

        DONE and ORDERED this 7th day of June, 2005.


                                                  /s/ Callie V. S. Granade
                                                  CHIEF UNITED STATES DISTRICT JUDGE
